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 2
                                                                     6/17/2020
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 8                         UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10
                                              Case No. 2:19-cv-02556-JAK-RAO
11      Kitsch LLC, a California
        company,
12
             Plaintiff/Counter-Defendant,     ORDER RE AGREED MOTION TO
13      v.                                    RESET CALENDAR DATES
                                              (DKT. 60) / AMENDED
14                                            SCHEDULING ORDER
        DEEJAYZOO, LLC, a New
15      York company,
16           Defendant/Counter-Plaintiff.
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 1
              Based on a review of the Agreed Motion to Reset Calendar Dates (the
 2
       “Motion” (Dkt. 60)), sufficient good cause has been shown for the requested relief.
 3
       Therefore, the Motion is GRANTED and the scheduling order is amended as
 4
       follows:
 5

 6
        Event                            Current Date                Amended Date
 7      Deadline for parties to serve    August 2, 2019              Closed
        invalidity contentions
 8

 9      Parties to exchange proposed     August 16, 2019             Closed
        terms for construction
10

11      Deadline to contact Magistrate   August 19, 2019             Closed
        Judge Rozella A. Oliver to
12      schedule a date for a
        settlement conference.
13

14      Parties to exchange proposed     August 30, 2019             Closed
        constructions and evidence
15
        Last day to amend or add         September 13, 2019          Closed
16      parties
17
        Claim Construction Discovery     September 27, 2019          Closed
18      Cut-Off
19
        Joint Markman Prehearing         October 18, 2019            Closed
20      Statement Due

21      Simultaneous Opening             October 25, 2019            Closed
        Markman Briefs Due
22

23      Simultaneous Responsive          November 8, 2019            Closed
        Markman Briefs, Tutorials,
24      and Presentation Materials
        Due
25

26      Markman Hearing                  December 9, 2019 at 10:30   N/A
                                         a.m.
27
        Last day to participate in a     February 3, 2020            Closed
28      settlement
        conference/mediation
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 2      Last day to file a notice of      February 7, 2020             Closed
        settlement or a joint report re
 3      status of settlement

 4      Patentee’s Deadline to Serve      February 10, 2020            August 28, 2020
 5      Final Infringement
        Contentions, Expert Reports
 6      on issues Where Patentee has
        Burden of Proof, All Parties
 7      Serve Advice of Counsel
        Disclosures
 8

 9      Post Mediation Status             February 24, 2020 at 11:30   N/A
        Conference                        a.m.
10

11      Accused Infringer’s Deadline      March 9, 2020                September 25, 2020
        to Serve Final Invalidity
12      Contentions, Rebuttal Expert
        Reports, and Opening Expert
13      Reports Where Accused
        Infringer has Burden of Proof
14

15      Patentee’s Deadline to Serve      April 6, 2020                October 23, 2020
        for Rebuttal Expert Reports on
16      Issues Where Accused
        Infringer has Burden of Proof
17

18      Expert Discovery Cut-Off          May 4, 2020                  November 23, 2020

19      Last day to file motions          June 1, 2020                 December 21, 2020
        (including discovery motions)
20

21

22     IT IS SO ORDERED.
23

24
       Dated: June 17, 2020                 _________________________________
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                                                 John A. Kronstadt
26                                               United States District Judge
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